     Case
MIED (Rev. 5/05)2:19-cv-12574-MAG-APP
                Request for Clerk’s Entry of Default   ECF No. 8 filed 09/12/19       PageID.87       Page 1 of 1

                                              UNITED STATES DISTRICT COURT
                                              EASTERN DISTRICT OF MICHIGAN

LINDA SUE SEXTON, and
MICHAEL SEXTON
                    Plaintiff(s),                               Case No. 2:19-CV-12574

v.                                                              Judge Mark A. Goldsmith

LARRY LYNN DUNN, THOMAS CERNUTO,                                Magistrate Judge Anthony P. Patti
REDFORD CHARTER TOWNSHIP

                    Defendant(s).
                                                            /

                                    REQUEST FOR CLERK’S ENTRY OF DEFAULT

          In accordance with Fed. R. Civ. P. 55(a), I request that a Clerk’s Entry of Default be entered against

Defendant LARRY LYNN DUNN                                                for failure to plead or otherwise defend.

                                                           AFFIDAVIT

          In support of my request for Clerk’s Entry of Default, I state that:

          1. The summons and complaint were served on                         Larry Dunn on August 11, 2019          at

               8782 Birkhill Dr, Sterling Heights, MI 48314                                                          by

               personal service.

          2. The defendant has failed to plead or otherwise defend in accordance with Fed. R. Civ. P. 12.

          3. The defendant is not an infant, incompetent person or a member of the military service.

          4. This statement is true and is signed under the penalty of perjury.

Date: September 12, 2019                                         /s/ Issa G. Haddad

                                                                 P71699
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